AB:MJB
F. #2019R01483

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA COMPLAINT
- against - Case No. 19-1014M
AARON WEINREB, (18 U.S.C. § 2422(b))
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

MATTHEW D. DERAGON, being duly sworn, deposes and states that he is a
Special Agent with the Federal Bureau of Investigation (“FBI”), duly appointed according to
law and acting as such.

On or about October 29, 2019, within the Eastern District of New York and
elsewhere, the defendant AARON WEINREB did, using the mail or a facility or means of
interstate commerce, knowingly attempt to persuade, induce, entice, or coerce any individual
who has not attained the age of 18 years to engage in any sexual activity for which any
person can be charged with a criminal offense.

(Title 18, United States Code, Section 2422(b)).

The source of your deponent’s information and the grounds for his belief are

as follows:!

 

Because the purpose of this Complaint is to set forth only those facts necessary

to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which ] am aware. —
1. I have been a Special Agent with the FBI since 2014 and am currently
assigned to the New York Office. Since 2016, I have been assigned to the Crimes Against
Children squad and have investigated numerous cases involving the sexual exploitation of
children. I have gained expertise in this area through classroom training and daily work
conducting these types of investigations. I am familiar with the facts and circumstances set
forth below from my participation in the investigation; my review of documents; my training
and experience; and from reports of other law enforcement officers involved in the
investigation. Additionally, statements attributable to individuals herein are set forth in sum
and substance and in part.

2. In or about October, 2019, law enforcement learned that defendant had
engaged in oral and anal sex with a fifteen-year-old minor (hereinafter “VICTIM”) on
previous occasions. The relationship between the defendant and the VICTIM began when
the VICTIM was fourteen years old.

3. Law enforcement met with the VICTIM and reviewed cell phone
activity between WEINREB and the VICTIM. Text messages between the defendant and the
VICTIM corroborated that WEINREB had engaged in sexual activity with the VICTIM.

I. BACKGROUND

4, On or about May 18, 2019, within days of engaging in sexual activity
with the VICTIM, defendant WEINREB sent a text message that stated in sum and
substance, “I was trying to demonstrate what our relationship probably is.. an older taking

advantage of a vulnerable child.. I’m sorry. I didn’t mean to hurt you.”

 

2 Typographical errors appear in the original text of the messages, and have

therefore not been corrected in the Complaint.
5. On or about May 22, 2019, WEINREB sent a text message that stated
in sum and substance, “I was strong last time.. but i was just showing you what an older guy
does when he is so excited and sexually aroused.”

6. Later that same day, May 22, 2019, the following text exchange
occurred between WEINREB and the VICTIM:

i. Defendant: “I want you to give me the love I crave... Not anal sex.. but
a loving sexual relationship in every other way.. that’s the truth.. please
be honest about if you want that too”

ii. VICTIM: “I want that too, not every time we meet has to be about sex”

iii. Defendant: It’s not.. I think we found a nice balance.. I love when we
kiss and I hope you will see how nice it is to deep kiss and really feel
the warmth of each other’s mouth.. but cuddling for adults means being
touched and held in sexual parts and getting aroused.. its not like
getting a hug from your mom ..”

7. On or about June 11, 2019 the defendant sent the VICTIM a text
message that stated, “When can we meet that you will be really really horny and not tired???
I want you badly.. I’m available today”

Il. LAW ENFORCEMENT INVOLVEMENT

8. On or about October 9, 2019, the FBI assumed the electronic identity of

the VICTIM and continued communicating with the defendant using the same cell phone

number the VICTIM had previously used to communicate with the defendant.
9. On or about October 24, 2019, WEINREB texted the VICTIM and
stated, “I do love when you suck my dick and when we cuddle your dick is always. ..solid
hard”

10. On or about October 24, 2019, using the VICTIM’s cellphone number,
the FBI texted the defendant and asked him to communicate using a private text app. The
defendant agreed to use the private text app, and did so using the same cell phone number he
previously used to electronically communicate with the VICTIM.

11. Using the private text app, WEINREB expressed a desire to meet the
VICTIM on Tuesday, October 29, 2019. On October 24, 2019, the following exchange
occurred in sum and substance:

i. VICTIM (FBD: “My parents have been so annoying lately”
ii. Defendant: “Lol, I would be too if I had a 16 year old”
iii. VICTIM (FBI): “Yea”
iv. Defendant: “Just finished work..I assume not today?”
v. VICTIM (FBI): I’m sorry, just still sick”
vi. Defendant: “I don’t mind . But no worries.. But then maybe Tuesday
afternoon”
vii. VICTIM (FBI): “Yes Tuesday but I have school stuff into the
afternoon”

12. On October 24, 2019, the defendant sent the VICTIM (FBI) messages
using the private text app that stated, “I want to cuddle with you and feel your hard dick
pressed up against me while we snuggle” and “I want to kiss you now..I can’t wait till

Tuesday”
13.

On October 27, 2019, in sum and substance, the following exchange

occurred on the private text app:

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VICTIM (FBI): “Where are we going from there?”

Defendant: “Very nice hotel down the block.. not like the place before..
You’ll like it.. and we are going to make love to each other in a
beautiful way”

VICTIM (FBI): “I love that”

VICTIM (FBI): “And you promise you’re ok with my age?”
Defendant: Are you 15 or 16? Be honest”

VICTIM (FBI): “I am 15, does that change things? I just want to be
honest because I know you really care for me”

Defendant: “I suspected so.. but then you said you were a sophomore..
Wow.. Where you 14 the first time we met?”
VICTIM (FBI): “Yes”

Defendant: “Omg.. my body is shaking now”

On or about October 27, 2019, in sum and substance, the following

exchange occurred on the private text app:

i.

ii.

ili.

Defendant: “We are on for Tuesday!! And my dick is hard as a rock
thinking about it” and “I want you to fuck me”
VICTIM (FBI): “Can you bring lube?”

Defendant: “Yes”
I. ARREST

15. On October 29, 2019, WEINREB texted the VICTIM (FBI) and
indicated, in sum and substance, that he reserved a hotel room at the King’s Hotel in the
vicinity of 8" and 39" street. Law enforcement responded to the Kings Hotel, 820 39"
Street, Brooklyn, NY 11232, where they detained WEINREB and provided Miranda
warnings.

16. | WEINREB acknowledged his Miranda warnings and agreed to speak
with law enforcement. WEINREB initially indicated he was a doctor and that he was at the
hotel fora nap. When questioned about a fifteen year old boy that was waiting to meet with
him, WEINREB requested a lawyer. Shortly thereafter, not in response to questioning,
WEINREB made statements about the investigation to law enforcement and asked to speak
with them. Law enforcement again provided Miranda warnings and WEINREB agreed to
speak with law enforcement without counsel.

17. During the post-Miranda interview, WEINREB admitted to having oral
sex with the VICTIM at a time when he knew the VICTIM was sixteen years old.

WEINREB further admitted to having oral sex with another sixteen year old male, and

indicated that he has a sex addition to males who are much younger than him.
WHEREFORE, your deponent respectfully requests that the defendant
AARON WEINREB be dealt with according to law.

MATTHEW Bb. BERAGON—

Special Agent, Federal Bureau of Investigation

Sworn to before me this
30'™ day of October, 2019

 

THE HONORABLE ROBERY M. LEVY
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
